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      [LIST OF ADDITIONAL COUNSEL ON SIGNATURE PAGE]
13
                             UNITED STATES DISTRICT COURT
14
                           CENTRAL DISTRICT OF CALIFORNIA
15
      In re: Hyundai and Kia Engine Litigation,         8:17-cv-00838-JLS-JDE
16
17                                                      Related Cases:
                                                        8:17-cv-01365-JLS-JDE
18                                                      8:17-cv-02208-JLS-JDE
                                                        2:18-cv-05255-JLS-JDE
19                                                      8:18-cv-00622-JLS-JDE
                                                        8:18-cv-02223-JLS-JDE
20
                                                        SUPPLEMENT TO MOTION
21                                                      FOR FINAL APPROVAL OF
                                                        CLASS SETTLEMENT AND
22                                                      MOTION FOR CLASS
                                                        COUNSEL FEE AND EXPENSE
23                                                      AWARD AND CLASS
                                                        REPRESENTATIVE SERVICE
24                                                      AWARDS
25                                                      Date: November 13, 2020
                                                        Time: 10:30 a.m.
26                                                      Hon. Josephine L. Staton
27                                                      Courtroom: 10A

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 1            Plaintiffs submit this filing to update the Court on two issues relevant to the
 2    final approval hearing scheduled for November 13, 2020.
 3            First, Plaintiffs submit the Supplemental Declaration of Adam Gonnelli and the
 4    Supplemental Expert Report of Susan K. Thompson, which relate to Plaintiffs Motion
 5    for Final Approval of Class Settlement. The Gonnelli Declaration includes updated

 6    claims statistics from HMA and KMA. Ms. Thompson’s Supplemental Expert Report
      (attached hereto as Exhibit 1) includes updated calculations with the most recent claim
 7
      information provided by HMA and KMA, as well as an update on the number of Class
 8
      Vehicles that have received the KSDS.
 9
              Second, since Plaintiffs filed their Unopposed Motion for Class Counsel Fee
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      and Expense Award and Class Representative Service Awards, Class Counsel has
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      incurred additional time and expenses. Those times and expenses are detailed in the
12
      accompanying Declarations of Matthew D. Schelkopf, Bonner C. Walsh, Adam
13
      Gonnelli, and Steve W. Berman, which are being filed contemporaneously herewith.
14    In addition, detailed billing records related to this supplemental time will be submitted
15    to chambers in Microsoft Excel format shortly after this filing.
16            From September 26, 2020 to November 5, 2020, Class Counsel have spent
17    approximately 508 hours working on this case, for an additional lodestar amount of
18    $280,599. When combined with the previously submitted totals, this increases the
19    overall lodestar amount to $3,820,403.87. In addition, Class Counsel expended
20    $28,135.20 in additional costs, increasing the total amount of costs incurred to
21    $150,153.70. When compared against the $6,900,000 fee request, Class Counsel’s
22    total lodestar of $3,820,403.87 reflects a lodestar multiplier of 1.81.
23
      Dated: November 6, 2020                          Respectfully submitted,
24
25                                             By:     /s/ Matthew D. Schelkopf
                                                       Joseph G. Sauder
26                                                     Matthew D. Schelkopf
27                                                     Joseph B. Kenney
                                                       SAUDER SCHELKOPF
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      Supplement to Motion for Final Approval and Motion for Class Counsel Fee and Expense Award
      Case No.: 8:17-cv-00838
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      Supplement to Motion for Final Approval and Motion for Class Counsel Fee and Expense Award
      Case No.: 8:17-cv-00838
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 1                                      CERTIFICATE OF SERVICE
 2            I, Matthew D. Schelkopf, hereby certify that on this 6th day of November, 2020,
 3    I caused the foregoing to be filed using the Court’s CM/ECF system, and thereby
 4    electronically served it upon all registered ECF users in this case.
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 7                                                     By:     /s/ Matthew D. Schelkopf
                                                              Matthew D. Schelkopf
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      Supplement to Motion for Final Approval and Motion for Class Counsel Fee and Expense Award
      Case No.: 8:17-cv-00838
